            2:19-cv-02069-CSB # 4         Page 1 of 1                                                     E-FILED
                                                                       Thursday, 28 March, 2019 11:03:44 AM
                                                                               Clerk, U.S. District Court, ILCD

                             UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF ILLINOIS
                                   URBANA DIVISION


REBECCA MINICK,                                    )
                                                   )
                       Petitioner,                 )
       v.                                          )           Case No. 19-CV-2069
                                                   )
MICHAEL WILLIAMS, Director of                      )
Champaign County Probation Office, and             )
CIRCUIT COURT OF THE SIXTH                         )
JUDICIAL CIRCUIT; and KWAME                        )
RAOUL, Illinois Attorney General,                  )
                                                   )
                       Respondent.                 )

                                              ORDER



       On March 22, 2019, this court received a Petition Under 28 U.S.C. § 2254 for Writ of Habeas

Corpus by a Person in State Custody (#1) from Petitioner, Rebecca Minick. Petitioner paid the

$5.00 filing fee. Therefore, Petitioner’s Petition (#1) is considered filed by this court.

       IT IS THEREFORE ORDERED THAT Respondents have sixty (60) days to file a response

to the Petition pursuant to Rule 5 of the Rules Governing Section 2254 Cases in the United States

District Courts. This court further orders that Respondent should attach those portions of the state

court record which are relevant to Petitioner’s claims and to the issues of the statute of limitations,

exhaustion of state remedies, and procedural default.

                       ENTERED this 28th day of March, 2019.


                                       s/ COLIN S. BRUCE
                                      U.S. DISTRICT JUDGE
